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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION


Evan Stone,                           )
                                      )
               Plaintiff,             )       Civil Action No. 3:20-CV-03085-JMC
                                      )
v.                                    )
                                      )       ORDER TO REMAND
Tin Roof Acquisition Company,         )
LLC d/b/a The Senate                  )
                                      )
               Defendant.             )
                                      )


       This matter is before the Court on Plaintiff’s Motion to Remand (Doc. 9) and Defendant’s

Response to Plaintiff’s Motion to Remand (Doc. 10).

       Plaintiff moved to remand, asserting that the requisite jurisdictional amount does not exist

in this case as supported by his Affidavit. Defendant responded by consenting to remand on the

grounds the Plaintiff has stipulated that he will not seek or accept a settlement or judgment

exceeding $75,000.00 in resolution of all claims he asserts in this action arising from the incident

that occurred on October 17, 2019.

       After review of the Plaintiff’s motion and Defendant’s consent, the Court finds that the

Motion to Remand should be granted.

       It is hereby ORDERED that Plaintiff’s Motion to Remand (Doc. 9) is granted and this case

is remanded to the Circuit Court of Richland County, South Carolina.


                                                     s/J. Michelle Childs
                                                     J. Michelle Childs
                                                     United States District Court Judge
Columbia, South Carolina
September 23, 2020
